  Case 20-71598-wlh           Doc 33     Filed 06/21/22 Entered 06/21/22 11:24:37                  Desc Main
                                         Document      Page 1 of 6


                                    UNITED STATES BANKRUPTCY COURT
                                     NORTHERN DISTRICT OF GEORGIA
                                            ATLANTA DIVISION

In re: PAINTER, NICOLE RENEE                             §        Case No. 20-71598-WLH
                                                         §
                                                         §
                                                         §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that S. Gregory Hays,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           1340 Richard B. Russell Bldg.
                                               75 Ted Turner Drive, SW
                                                  Atlanta, GA 30303
          Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may consider this
matter without further notice or a hearing if no party in interest files a response or objection within twenty-one
(21) days from the date of service of this notice. If you object to the relief requested in this pleading, you must
timely file your objection with the Bankruptcy Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75
Ted Turner Drive, S.W., Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964
Peachtree Road, NW, Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection
deadline. The response or objection must explain your position and be actually received by the Bankruptcy
Clerk within the required time.

        A hearing on the pleading has been scheduled for July 28, 2022. The Court will hold an initial
telephonic hearing for announcements on Trustee's Final Report and the Trustee’s professionals final fee
applications at the following number: toll free number 833-568- 8864; Meeting ID 161 202 1574 at 10:30 A.M.
in Courtroom 1403, United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

         Matters that need to be heard further by the Court may be heard by telephone, by video conference, or
in person, either on the date set forth above or on some other day, all as determined by the Court in connection
with this initial telephonic hearing. Please review the “Hearing Information” tab on the judge’s webpage, which
can be found under the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage for
this Court, www.ganb.uscourts.gov for more information.

          If an objection or response is timely filed and served, the hearing will proceed as scheduled. If you do
not file a response or objection within the time permitted, the Court may grant the relief requested without
further notice or hearing provided that an order approving the relief requested is entered at least one business
day prior to the scheduled hearing. If no objection is timely filed, but no order is entered granting the relief
requested at least one business day prior to the hearing, the hearing will be held as scheduled.

UST Form 101-7-NFR (10/1/2010)
  Case 20-71598-wlh          Doc 33     Filed 06/21/22 Entered 06/21/22 11:24:37                 Desc Main
                                        Document      Page 2 of 6


        Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may wish to consult one.

Date Mailed: 06/21/2022                                   By:: /s/ S. Gregory Hays
                                                                            Chapter 7 Trustee
S. Gregory Hays
2964 Peachtree Road, NW, Ste. 555
Atlanta, GA 30305
(404) 926-0060




UST Form 101-7-NFR (10/1/2010)
  Case 20-71598-wlh            Doc 33       Filed 06/21/22 Entered 06/21/22 11:24:37                        Desc Main
                                            Document      Page 3 of 6



                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF GEORGIA
                                             ATLANTA DIVISION

In re:PAINTER, NICOLE RENEE                                 §      Case No. 20-71598-WLH
                                                            §
                                                            §
                                                            §
                       Debtor(s)


                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

                 The Final Report shows receipts of :                              $                         35,000.00
                 and approved disbursements of:                                    $                            281.41
                 leaving a balance on hand of1:                                    $                         34,718.59

            Claims of secured creditors will be paid as follows:

  Claim     Claimant            Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                 34,718.59

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - S. Gregory Hays                                              4,250.00              0.00         4,250.00
  Trustee, Expenses - S. Gregory Hays                                             70.79              0.00            70.79
  Accountant for Trustee, Fees - Hays Financial Consulting,                    3,030.00              0.00         3,030.00
  LLC
  Accountant for Trustee, Expenses - Hays Financial                               90.05              0.00            90.05
  Consulting, LLC
  Attorney for Trustee Fees (Other Firm) - Arnall Golden                       2,175.25              0.00         2,175.25
  Gregory LLP
  Attorney for Trustee Expenses (Other Firm) - Arnall Golden                      10.39              0.00            10.39
  Gregory LLP

          1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

UST Form 101-7-NFR (10/1/2010)
  Case 20-71598-wlh           Doc 33     Filed 06/21/22 Entered 06/21/22 11:24:37                    Desc Main
                                         Document      Page 4 of 6



                  Total to be paid for chapter 7 administrative expenses:                  $              9,626.48
                  Remaining balance:                                                       $             25,092.11

             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                   Total             Interim       Proposed
                                                                     Requested         Payments to   Payment
                                                                                       Date

                                                       None

                  Total to be paid for prior chapter administrative expenses:              $                  0.00
                  Remaining balance:                                                       $             25,092.11

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $0.00 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                             Allowed Amount        Interim Payments                Proposed
  No.                                                    of Claim                 to Date                Payment

                                                       None

                                               Total to be paid for priority claims:       $                  0.00
                                               Remaining balance:                          $             25,092.11

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $29,835.81 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 84.1 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount        Interim Payments                Proposed
  No.                                                    of Claim                 to Date                Payment
  1          American Express National                    2,011.46                      0.00             1,691.65
             Bank
  2          Citibank, N.A.                               4,123.62                      0.00             3,467.99
  3          Navient Solutions, LLC.                       566.66                       0.00                476.56
  4          UNITED STATES                                1,288.56                      0.00             1,083.69
             DEPARTMENT OF
             EDUCATION




UST Form 101-7-NFR (10/1/2010)
  Case 20-71598-wlh           Doc 33      Filed 06/21/22 Entered 06/21/22 11:24:37                 Desc Main
                                          Document      Page 5 of 6



  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment
  5          UNITED STATES                                 1,226.48                   0.00               1,031.48
             DEPARTMENT OF
             EDUCATION
  6          SoFI Consumer Loan                          13,693.65                    0.00             11,516.45
             Program 2019-2
  7          Happy Money Inc, DBA                          6,925.38                   0.00               5,824.29
             Payoff

                     Total to be paid for timely general unsecured claims:               $              25,092.11
                     Remaining balance:                                                  $                   0.00

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment

                                                        None

                     Total to be paid for tardily filed general unsecured claims:        $                      0.00
                     Remaining balance:                                                  $                      0.00

               Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
      ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
      after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
      dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
      applicable).
               Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
      ordered subordinated by the Court are as follows:

  Claim      Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                     of Claim                 to Date               Payment

                                                        None

                                              Total to be paid for subordinated claims: $                       0.00
                                              Remaining balance:                        $                       0.00




UST Form 101-7-NFR (10/1/2010)
  Case 20-71598-wlh         Doc 33      Filed 06/21/22 Entered 06/21/22 11:24:37                 Desc Main
                                        Document      Page 6 of 6




                                               Prepared By: /s/ S. Gregory Hays
                                                                         Chapter 7 Trustee
    S. Gregory Hays
    2964 Peachtree Road, NW, Ste. 555
    Atlanta, GA 30305
    (404) 926-0060




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-NFR (10/1/2010)
